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UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,            ) CR. NO. 22-00012 SOM
                                      )
                 Plaintiff,           ) UNITED STATES’ SENTENCING
                                      ) MEMORANDUM;CERTIFICATE
           vs.                        ) OF SERVICE
                                      )
 JAMIE KALANI ENGLISH,                )
                                      )
                 Defendant.           )
                                      )


             UNITED STATES’ SENTENCING MEMORANDUM
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              UNITED STATES’ SENTENCING MEMORANDUM

      Kalani English (English) sold the power of his position as Majority Leader

of the Hawaii State Senate and betrayed his oath as an elected representative of the

people of Hawaii. English chose to advance his personal financial interests above

the welfare of the public he served, and to conceal his acceptance of bribes and

other financial benefits by brazenly falsifying Hawaii State Ethics financial

disclosure forms. In filing false financial disclosure forms, English robbed the

public of their right to know of financial benefits he was receiving from third

parties that would influence the exercise of his legislative judgment and discretion.

In doing so he defrauded the very people he was elected to serve. English

demonstrated that he was not only willing to introduce legislation to advance the

cause of those who would bribe him, but he was also willing to use his political

clout as the Majority Leader of the State Senate to “kill” pending legislation for a

$10,000 payment. English’s offense conduct mandates a sentence that serves to

punish his egregious conduct, and serves as lasting and credible deterrence for

other public officials who contemplate violating their sacred duty to honestly and

ethically represent their constituents. The sentence must promote a firm respect for

the law, and deliver the stern and lasting message that corruption of our elected

officials will punished to the full measure of the law.

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V.    The United States Sentencing Guidelines

      Neither the defense nor the government raised any objections to the PSR’s

sentencing guideline calculation. As provided in paragraph 85 of the PSR, the total

offense level is 21 and the guideline range is 37 to 46 months. The United States

will advocate for a sentence within the above guideline range.

VI.   The Offense Conduct and Section 3553(a) Sentencing Factors

      Title 18, United States Code, Section 3553(a) requires the court to impose a

sentence sufficient, but not greater than necessary, to comply with the following

purposes: reflect the seriousness of the offense, promote respect for the law,

provide just punishment for offense and afford adequate deterrence to criminal

conduct. While Section 3553(a) also requires the court’s sentence to protect the

public from further crimes of the defendant, we do not believe that English

presents any serious risk of re-offending since it is unlikely he will again hold

public office.

      A.     Nature and Circumstances of the Offense

      Section 3553(a)(1) mandates that the court consider the nature and

circumstances of the offense, and the history and characteristics of the defendant.

The offense conduct in this case is deeply disturbing and spanned several years.

As indicated, English peddled the power and influence of his position as a Hawaii




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State Senator and Majority Leader to enrich himself and betray the trust bestowed

upon him by those he was elected to serve.

      English was first elected to the Hawaii State Senate, representing the 7th

Senatorial District, in November 2000. The stipulated facts demonstrate that

within the last several years English improperly accepted several thousand dollars

from Person A in return for his support of legislation that benefitted Person A’s

company. Then, beginning in 2019, English began to solicit and accept multiple

bribe payments from Person A. Unknown to English, Person A was by that point

working as a confidential informant for the FBI.

             i.    English’s Position as Senate Majority Leader

      English’s position as Senate Majority Leader is an aggravating sentencing

factor. Elected public officials are critical and important community leaders. The

public naturally and by necessity turns to them for competent, honest

representation. When the elected representative is the Majority Leader of the State

Senate, a powerful and influential position, there is a palpably deeper and more

resonate duty of fidelity to the public. The public’s expectation is that the Majority

Leader of the State Senate would abide by his oath of office, conduct himself

honestly and above reproach, and render selfless service to the people of Hawaii.

When the public learns, as it has in this case, that the Senate Majority leader was

lining his pockets with the cash of shadowy special interests, peddling legislative



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favors in return—and then lying about it on his public financial disclosure forms—

there is a an even greater collapse in the public’s morale and confidence in their

elected officials. After all, if the leaders of the State Senate are selling out to

private interests, than perhaps others are as well.

      In the wake of the charges in this case there was an extraordinary public

outcry. The legislature of the State of Hawaii has since taken a hard look at itself,

how it conducts its affairs, how and when fund raising occurs, and how

representatives are educated regarding the ethical discharge of their public duties.

English, as a prominent leader in the State Senate, shoulders substantial

responsibility for a rising crisis in confidence in our public officials. English

abused the power of his lofty official position by using it to serve his personal

interests and greed rather than serve the people of Hawaii. We submit this is an

aggravating factor the Court must consider in fashioning a sentence in this case.

             ii.    English’s Conduct was not an Aberration

      All of the bribes paid in this case were accomplished with the services of

Person A, who was acting on behalf of federal law enforcement authorities. The

FBI was, using the services of Person A, able to seamlessly bribe English. English

was never reticent about taking money in return for political and legislative favors.

As the investigation progressed it became astoundingly clear that no matter the

legislative ask, the answer from English would most certainly be “yes.” English’s



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behavior signaled that it was systematically normal for him to accept, and indeed

expect, financial benefits in return for legislative favors. In fact, it would have

been an aberration for English to decline to accept a cash bribe. It was English

who unwittingly initiated the FBI covert relationship with him by reaching out to

Person A with a demand for hotel rooms in Las Vegas for English and some of his

friends. That turned out to cost around $1,800, which amount English happily

accepted. English later agreed to send a private draft report on cesspools, not

available to the public, to Person A. A few days later English asked for Person A

to take him, and some visiting family members, to dinner. Person A declined the

offer of attending the dinner, but gave English what he really wanted: $500 in cash

to pay for the dinner. English readily accepted the funds mentioning to Person A

how much everyone “loved the crab.”

      On February 24, 2020, during a dinner meeting in Honolulu, Person A gave

English $1,000 for his assistance with the cesspool legislation, which English

accepted without reservation. During the dinner meeting English told Person A

that he should “should formulate what you would like to see” in the bill. English

later told him “you don’t have to think about the language (in the bill), just think

about the outcomes, I’ll, I’ll deal with the language.” The outcome, we submit,

would be for Person A’s company to financially benefit from the proposed




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cesspool legislation. When the dinner check came, Person A, as English expected,

picked up the $592 tab.

      Arguably more disturbing is what occurred on March 11, 2020, when Person

A asked English to delay the cesspool legislation to the next session. The

following is a telling excerpt of that recorded conversation:

      Person A: I need to, um, delay that bill like until the next session.
      Because then I know like you—you’re the one that submitted it so—
      and I don’t know how complex this is and I want to—want to—

      ENGLISH: Well it’s easy to kill bills. It’s hard to pass them.

      Person A: I need both of those kind of like . . . .

      ENGLISH: You need both of them killed?

      Person A: Yeah, yeah.

      ENGLISH: Okay.

      Person A: Is that? I mean—I mean—you know, I don’t know how
      that’s done.

      ENGLISH: It’s easy to kill bills . . . . This one I can—I can make
      sure it doesn’t move in the money committees. The one that’s on
      the House side, um, you know let me just see where it is and I can
      see it, I can just tell the Chairs, hold off. [State Representative 2] is
      going to be pushing for that bill. [Emphasis Added]

      In this instance, English agreed to take steps to “kill” pending legislation at

the mere request of Person A. He readily took the sum of $10,000 to underwrite

his promise, and effectively sold the power and prestige of his position to serve the

perceived needs of Person A.



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       Finally, on the day of his arrest, English was paid $5,000 by Person A in a

 motor vehicle. English readily accepted the cash by stuffing it in his pocket and

 saying “thank you.” When investigators performed a traffic stop on Person A’s

 vehicle a few moments later, English pulled out the envelope with the cash and

 tried to hide it under the passenger side floor mat. While English did opt to be

 cooperative with investigators that evening, it is noteworthy that English had been

 nabbed with his hand deep in the cookie jar, and his decision to cooperate was both

 expected and obvious.

              iii.   False Public Financial Disclosures

       The State of Hawaii mandates that its elected officials file an annual public

 financial disclosure informing the public and their electorate of any gifts or

 financial benefits in excess of $200 conferred upon them. In his June 30, 2020 gift

 disclosure, English knowingly and purposefully failed to declare the receipt of

 nearly $15,000 in funds and financial benefits conferred upon him by Person A,

 including the hotel rooms provided to him in June 2019 at a cost of $1,805, the

 $500 in cash provided to him in June 2019, the $1,000 in cash provided to him in

 February 2020, or the $10,000 in cash provided to him in March 2020.

       At the same time, English disclosed small gifts he received from legitimate

 sources during that same time period, including, among other things, gifts of $7

 worth of trail mix from a private company, $10 worth of chili pepper water from


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 the County of Kauai, a $20 goody and snack bag from the Maui County Council,

 and a $22 grocery bag of vegetables from a law firm. English also disclosed travel

 and hotel stipends that he received from legitimate sources, including a $200 hotel

 stipend from the National Conference of State Legislatures.

       By failing to lawfully disclose payments and benefits that he accepted for

 agreeing to perform official acts on his annual gift disclosure form, English

 purposefully concealed corrupting influences on his performance as a State

 Senator, and defrauded the citizens of Hawaii, who were entitled to English’s

 honest and faithful services and entitled to know what gifts English had received

 during the course of his employment. We submit that English’s brazen

 falsification of mandated State of Hawaii Financial Disclosure forms is an

 aggravating factor that must weigh into the Court’s sentence in this case.

       B.     Mitigation

       In mitigation, English served in the Hawaii State Senate for over 20 years,

 rising to the position of Senate Majority Leader. Based on letters English has

 submitted to the Court, he is well regarded by many. At the same time, while the

 government does not doubt the sincerity of these supporters, it notes that English

 has had a significant and lengthy career as a politician. He was therefore, quite

 literally, in the business of making friends. United States v. Vrdolyak, 593 F.3d

 676, 683 (7th Cir. 2010) (“Politicians are in the business of dispensing favors; and



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 while gratitude like charity is a virtue, expressions of gratitude by beneficiaries of

 politicians’ largesse should not weigh in sentencing.”).

       English was cooperative following his arrest. He aided agents in the conduct

 of their investigative duties, and met with government counsel and agents

 investigating corruption. Although English failed to provide either the quantum or

 quality of assistance sufficient to warrant a downward departure, he did agree to be

 interviewed following his arrest, and in subsequent protected proffer sessions.

 English did accept full responsibility for his actions.

       English resigned from the Senate a few months after the covert operation

 that resulted in his arrest. Because English was cooperative, the government had

 moved to dismiss his pending criminal complaint in order to continue its

 investigation. Within a few months English appeared on the Senate steps before a

 full media contingent, and blamed “long Covid” as the reason he was leaving

 public service. In truth, English was leaving public service because he had been

 busted in a highly sensitive ongoing corruption investigation for taking bribes and

 betraying his oath of service to the people of Hawaii.

       We have taken his cooperation and acceptance into account in formulating a

 balanced sentencing recommendation to the Court that addresses the above

 mitigators, and the factors in aggravation.

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       C.     Sentencing Recommendation

       As noted above, English’s sentencing guideline range is 37 to 46 months.

 The government recommends a sentence of 42 months. While the guidelines

 calculation in this case relies heavily upon the dollar amount of the funds involved

 in the various bribes, we think a more telling metric is the number of bribe events,

 the ready ease with which regularly English accepted cash for political favors and

 the depth he demonstrated he would go to serve what he believed to be the

 legislative demands of a corrupt businessman. Without English’s cooperation and

 acceptance of guilt, we would be asking the Court for a substantial upward

 departure from the guideline range. Instead, we recommend a sentence that seeks

 to balance the compelling need for the sentence to convey a message of deterrence

 while balancing the mitigating factors addressed herein, and also by English’s

 counsel in his well-crafted sentencing memorandum.

       It has been, by our recollection, more than two decades since an elected

 public official in Hawaii has faced a Hawaii United States District Court judge for

 sentencing in a corruption case. Corruption cases against elected officials are

 exceedingly rare because they are so difficult to investigate, prosecute and obtain

 sustained convictions. For these reasons, it is critical that the sentence in this case

 ensures meaningful general deterrence. This is particularly true in the current

 political climate, where waves of dark money infect politics and flood the worlds



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 of our elected officials. The Court’s sentence, we submit, must provide a credible

 deterrence effect, and promote respect for not only federal law, but state laws, such

 as those mandating truthful financial disclosures by public officials. We ask the

 Court to recognize the unique opportunity this case presents and deliver the

 message that those who chose to abuse their elected power to enrich themselves at

 the expense of the people they serve will face severe penalties that include a

 lengthy term of imprisonment and appropriately, a financial penalty as well.

       We concur with the recommendation of U.S. Probation that the defendant

 also pay a fine in the amount of $100,000. The sentence of a fine, particularly in

 this case, addresses the underlying greed incumbent in English’s offense conduct.

 It is troubling that English had substantial assets and income and yet chose to

 blithely sell the power of his elected office for so little. English has the ready

 ability to pay a fine, and the amount of $100,000, when coupled with a substantial

 term of imprisonment sends an appropriate and credible message of deterrence.

 VII. The Forfeiture

       As detailed in the PSR, English took a total of $18,305 in bribe payments,

 but a $5,000 bribe was immediately recovered. He should forfeit $13,305 in ill-

 gotten gains and, to that end, the government has submitted an amended order of

 forfeiture requiring the forfeiture of that amount. We note that due to clerical

 error, an earlier order of forfeiture included an amount of $15,305, and English



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 made payment on that larger amount. For that reason, the amended order of

 forfeiture provides that the $2,000 overpayment should be returned to English.

 VIII. Conclusion

       For the above reasons, the government respectfully requests that the Court

 impose a sentence of 42 months’ imprisonment, together with a $100,000 fine and

 an amended forfeiture order of $13,305.

       DATED: July 1, 2022, at Honolulu, Hawaii.

                                                CLARE E. CONNORS
                                                United States Attorney
                                                District of Hawaii

                                                       /s/ Kenneth M. Sorenson
                                                By
                                                     KENNETH M. SORENSON
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                                                     Assistant U.S. Attorneys




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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on the date noted below, the true and correct

 copy of the foregoing was served electronically through CM/ECF:

 Served Electronically through CM/ECF:

       Richard H.S. Sing, Esq.
       Attorney for Defendant
       JAMIE KALANI ENGLISH

       DATED: July 1, 2022, at Honolulu, Hawaii.

                                                 /s/ Kenneth M. Sorenson
                                           _____________________________
                                           KENNETH M. SORENSON
                                           Assistant U.S. Attorney
